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                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF ILLINOIS


In re:
I80 Equipment, LLC                                Case No. 17-81749
                                                  Chapter 7
       Debtor(s).


Jeana K. Reinbold, solely as Chapter 7            AP. No.
Trustee of the Estate of I80 Equipment,
LLC
       Plaintiff,

v.
Menard, Inc.
       Defendant.

                                      COMPLAINT

      Jeana K. Reinbold, solely as Chapter 7 Trustee of the Estate of I80 Equipment,

LLC ("Plaintiff") for her Complaint against Menard, Inc. (“Defendant”), states as

follows:

                             JURISDICTION AND VENUE

      1.    This adversary proceeding arises under the above-captioned chapter 7

case, currently pending in this district.

      2.    The court has jurisdiction over this adversary pursuant to 28 U.S.C. §§

1334, 151, 157(a) and (b)(2)(H). The Plaintiff consents to entry of final orders or

judgment by this Court.

      3.    Venue is proper in this jurisdiction pursuant to 28 U.S.C. §1409(a).
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                                        PARTIES

      4.     The Plaintiff is the duly appointed chapter 7 trustee in the above

referenced chapter 7 case.

      5.     The Defendant is a Wisconsin corporation with its principal office at 5101

Menard Dr., Eau Claire, WI 54703-9604.

                                      COMMON FACTS

      6.     I80 Equipment, LLC (“Debtor”) filed a Chapter 7 bankruptcy petition

herein on December 6, 2017. Plaintiff was appointed chapter 7 trustee of the case on

said date.

      7. Debtor was an Illinois limited liability company formed June 14, 2007 with

its principal office at 120 Walnut Lane, Colona, IL 61241. Debtor was involuntary

dissolved on December 14, 2018.

      8. At all times relevant herein, Erik P. Jones ("Jones") (a) was the sole member

of Debtor; (b) owned 100% of the membership interests in Debtor; and (c) was the

sole manager of Debtor.

      9. Prior to filing bankruptcy, the Debtor operated a commercial business

whereby it purchased and refurbished bucket trucks for resale.

      10. Jones Lease Properties, LLC ("Jones Lease") is an Illinois limited liability

company formed January 21, 2004 with its principal office at 496 Briargate Dr.,

Colona, IL 61241.

      11. Jones Lease operates a rental/management company providing single-

family and multi-family rental options in the Quad Cities area.



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      12. At all times relevant herein, Jones (a) was the sole member of Jones Lease;

(b) owned 100% of the membership interests in Jones Lease; and (c) was the sole

manager of Jones Lease.

      13. J.P. Rentals, LLC ("JP Rentals") is an Illinois limited liability company

formed March 13, 2008 with its principal office at 20490 E. 550th St., Colona, IL

61241.

      14. JP Rentals was formed to offer rental options in larger commercial multi-

unit properties.

      15. At all times relevant herein, Jones (a) was the sole member of JP Rentals;

(b) owned 100% of the membership interests in JP Rentals; and (c) was the sole

manager of JP Rentals.

      16. Within two (2) years of bankruptcy, Debtor transferred $707,322.95 of its

funds, net of refunds, to or for the benefit the Defendant by credit card, debit and/or

check ("Fraudulent Transfers"). The dates and amounts of said transfers are set forth

on attached Exhibit "A" through “C”.

      17. The Fraudulent Transfers were made on account of indebtedness owed by

Jones, Jones Lease and or JP Rentals, not the Debtor.

      18. Any obligations incurred within two (2) years of bankruptcy by the Debtor

to Defendant were for the benefit of Jones, Jones Lease, JP Rentals or other

individuals or non-Debtor entities ("Fraudulent Obligations"), not the Debtor.




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                                       COUNT I
                        (11 U.S.C. § 548(a)(1)(A) – Actual Fraud)

        19. The Trustee repeats and realleges averments 1 through 18 of her

Complaint as if set forth fully herein.

        20. This Count is brought pursuant to 11 U.S.C. §§ 548(a)(1)(A), 550(a)(1) and

551.

        21. Upon information and belief, Debtor made the Fraudulent Transfers with

actual intent to hinder, delay or defraud any entity to which Debtor was or became,

on or after the date that such transfer was made, indebted, as demonstrated by,

including but not limited to, the following facts which constitute badges of fraud:

              (a)   There was a close relationship between the entities for whose

        benefit the Fraudulent Transfers were made and the Debtor, as Jones was the

        sole member of all entities, and all entities were controlled and directed by

        Jones.

              (b)   The consideration received by the Debtor for the Fraudulent

        Transfers was inadequate, as the Fraudulent Transfers were wholly made for

        the benefit of Jones and his other entities, and not the Debtor.

              (c)   The Debtor was insolvent or became insolvent shortly after the

        Fraudulent Transfers were made or the Fraudulent Obligations were incurred.

              (d)   Jones retained indirect control over all the properties into which

        materials purchased from the Defendant were incorporated after the

        Fraudulent Transfers, as such properties were owned by Jones Lease and JP




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      Rentals which Jones controlled.

             (e)   Jones’ pattern of recklessly using the Debtor’s funds to purchase

      non-Debtor and luxury items for his other entities and his own personal use

      after the Debtor had incurred substantial debt.

             (f)   In making the Fraudulent Transfers to or for the benefit of his

      other entities, Jones engaged in conscious misbehavior and recklessness. No

      legitimate business purpose of the Debtor was served by making any of the

      Fraudulent Transfers. The only purpose of said transfers were to further the

      real estate business of Jones' other entities.

             (g)   The Fraudulent Transfers to Jones Lease and JP Rentals were

      concealed, as they were recorded in the Debtor's books, not as gifts, but as

      accounts receivable. Said entities had no obligation to repay the Fraudulent

      Transfers to the Debtor.

(collectively, “Badges of Fraud”).

      22. The Fraudulent Obligations were incurred with actual intent to hinder,

delay or defraud any entity to which Debtor was or became, on or after the date that

such transfer was made, indebted, as demonstrated by, including but not limited to,

the above Badges of Fraud.

      WHEREFORE, Plaintiff prays that this Court:

      (a) avoid the said Fraudulent Transfers in the amount of $707,322.95;

      (b) avoid the Fraudulent Obligations;

      (c) enter judgment in favor of Plaintiff and against Defendant for $707,322.95



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plus court costs and prejudgment interest;

        (d) preserve said transfers for the benefit of this Estate; and

        (e) grant Plaintiff such other relief as is just and equitable.

                                        COUNT II
                       (11 U.S.C. §548(a)(1)(B)-Constructive Fraud)

        22. Plaintiff repeats and realleges averments 1-21 as if set forth fully herein.

        23. This count is brought pursuant to 11 U.S.C. §§ 548(a)(1)(B),550 (a)(1) and

551.

        24. Debtor received less than a reasonably equivalent value in exchange for

the Fraudulent Transfers and the Fraudulent Obligations and, as is likely to have

evidentiary support after a reasonable opportunity for further investigation or

discovery: (1) was insolvent on the dates that such transfers were made and such

obligations were incurred, or became insolvent as a result of such transfers and such

obligations; (2) was engaged in business or a transaction, or was about to engage in

business or a transaction, for which any property remaining with Debtor was an

unreasonably small capital; or (3) intended to incur, or believed that Debtor would

incur, debts that would be beyond Debtor's ability to pay as such debts matured.

        WHEREFORE, Plaintiff prays that this Court:

        (a) avoid the said Fraudulent Transfers in the amount of $707,322.95;

        (b) avoid the Fraudulent Obligations;

        (c) enter judgment in favor of Plaintiff and against Defendant for $707,322.95

plus court costs and prejudgment interest;




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 (d) preserve said transfers for the benefit of this Estate; and

 (e) grant Plaintiff such other relief as is just and equitable.

                                        Jeana K. Reinbold, solely as Chapter 7
                                        Trustee of the Estate of I80 Equipment,
                                        LLC

                                        By: /s/ Andrew W. Covey
                                        One of her attorneys

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